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 3
                       IN THE UNITED STATES DISTRICT COURT
 4
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,       )      Case. No. CR-S-08-427 MCE
10                                   )
                                     )
11                                   )
                     Plaintiff,      )      SEALING ORDER
12                                   )
                                     )
13        v.                         )
                                     )
14   RAMANATHAN PRAKASH,             )
                                     )
15                   Defendant.      )
                                     )
16                                   )
17
          Good cause having been shown,
18
          IT IS HEREBY ORDERED that Attachments A and B of the
19
     Government’s Sentencing Memorandum, submitted on February 16, 2012,
20
     be filed under seal.    The Clerk’s Office is directed to serve
21
     counsel, Alan Ellis, David Dratman, Ron Richards, Jean Hobler, and
22
     Phil Ferrari only with copies of Attachments A and B.
23
24   Dated: February 24, 2012

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26
                                         MORRISON C. ENGLAND, JR.
27                                       UNITED STATES DISTRICT JUDGE
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